Case 1:05-cr-10027-.]DT Document 11 Filed 05/17/05 Page 1 of 2 PagelD 13
lN THE UN|TED STATES DlSTR|CT COURT

 

 

FoR THE wEsTERN olsTRlcT oF TENNEssEE F"“ED B"' D.C.,
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05 HAY n Pn vt 11___.
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CLEHK. U3. D|S'T CT
Plaintiff, W D.O'F m JACKSON

v. Cr. NO. 05-10027-T/An
COLLIS PAUL LANCASTER,

Defendant.

 

ORDER ON ARRA|GNN|ENT

 

This cause came to be heard on May 17, 2005. The Assistant United States Attorney
appeared on behalf of the governmentl and the defendant appeared in person and with the
following counsel, who is appointed:

NAME: Dianne Smothers, Asst. Federat Defender
ADDRESS:

TELEPHONEZ

The defendant through counse|, waived formal arraignment and entered a plea of not
guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

The defendantl being held without bond pursuant to BRA of 1984, is remanded to the

custody of the U.S. Marshal.
(_____ _
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S. THOMAS ANDERSON
United States Magistrate Judge

Charges: felon in possession of a hrearm; possession with intent to distribute marijuana
Assistant U.S. Attorney assigned to case: Powell

Rule 32 was not waived.

This document entered on the docket sheet i com liance
with Rule 55 and/or 32(b) FRCrP on § 225 § doj

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 1:05-CR-10027 Was distributed by faX, mail, or direct printing on
May ]8, 2005 to the parties listed.

 

 

M. Dianne Smothers

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U.S. ATTORNEY'S OFFICE
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Honorable J ames Todd
US DISTRICT COURT

